Case 2:O4-cV-024O4-SHI\/|-STA Document 47 Filed 06/15/05 Page 1 of 4 Page|D 28

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 J!Jl€ l § fill lU= 35

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)
Plaintiff, )
)

v. ) No. 04-2404 Ma/An

)
vELsoCoL CHEMICAL CORP., )
)
Defendant. )

 

ORDER DENYING MOTION FOR EXTENSION OF
DISC()VERY DEADLINES

 

Before the Court is Plaintiff’s Motion for Extension of Discovery Deadlines filed on May
13, 2005. For the reasons set forth below, the Motion is DENIED.

Rule 16(b) of the Federal Rules of Civil Procedure provides that “[a] schedule shall not
be modified except upon a showing of good cause and by leave of the District Judge, or when
authorized by Local Rule, by a Magistrate Judge.”1 Fed. R. Civ. P. 16(b). “The primary measure
of Rule 16's ‘ good cause’ standard is the moving party’s diligence in attempting to meet the case
management orders and requirements.” Latom`a Inge v. Rock Financial Corp., 281 F.3d 613, 625
(6th Cir. 2002) (citing Bradford v. Dana Corp., 249 F.3d 807, 809 (Bth Cir. 2001)).

After review, the Court concludes that Plaintiff has not shown a good cause reason Why
the deadlines should be extended Plaintiff argues an extension is appropriate because Defendant

supplied Plaintiff with insufficient discovery responses in May 2005 and because Plaintiff will

 

l Pursuant to Administrative Order No. 2003, Motions to Amend Scheduling Order are to be decided by the
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Magistrate Judge Without a specific order of reference
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Case 2:O4-cV-O24O4-SHI\/|-STA Document 47 Filed 06/15/05 Page 2 of 4 Page|D 29

need time “to allow Defendant to file more sufficient responses” and for Plaintiff to file a Motion
to Compel, if necessary. Defendant, however, argues that no motion to compel has been filed
and that it has provided sufficient responses to all discovery requests The Court agrees with
Defendant and concludes an extension of the deadlines is not warranted

Plaintiff also argues that he has yet to receive documents pursuant to a subpoena duces
tecum; therefore, the Court should extend the deadlines to give Plaintiff time to collect the
information Defendant, however, informed the Court that the individuals responsible for
producing the documents attempted to make the documents available to Plaintiff’s counsel, but
Plaintiff’s counsel was unprepared for the meeting The Court finds it inappropriate to extend
the deadlines solely because of counsel’s unpreparedness.

Finally, Plaintiff argues that Defendant will not be prejudiced by an extension of the
deadlines; however, Defendant states that “[g]ranting yet another extension of the discovery
deadline will be unduly prejudicial to the defendant who continues to meet its obligations under
the Court’s original [Scheduling] Order, and cannot be ready for trial on August 22, 2005 if the
discovery deadlines are continued, yet again.” The Court agrees with Defendant Plaintiff has
filed three previous motions asking the Court to extend the discovery deadlines, and the Court is
reluctant to grant a fourth extension of the discovery deadlines when Defendant has responded to
Plaintiff’s discovery requests and met its obligations under the Scheduling Order. Additionally,
the Court finds it troublesome that an extension is needed because Plaintiff’s counsel was
unprepared when two individuals were ready to produce documents in response to the subpoena

duces tecum.

Case 2:O4-cV-O24O4-SHI\/|-STA Document 47 Filed 06/15/05 Page 3 of 4 Page|D 30

Therefore, because Plaintiff has shown no good cause reason why the deadlines should be

extended and because Defendant will be prejudiced if the deadlines are extended, Plaintiff’s

Motion is DENIED.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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This notice confirms a copy of the document docketed as number 47 in
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Honorable Samuel Mays
US DISTRICT COURT

